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 1 remember exactly.                                            1 parties and stuff at my house. And she was kind of
 2    Q And that's fine. And you know, today is                 2 staying with me. We were staying together in my
 3 about what you remember. If you don't know, that's on        3 apartment and hanging out just about every day.
 4 okay answer. There's going to be times that I'll show        4     Q So had she moved in with you end of May,
 5 you some documents and maybe that'll refresh your            5 beginning of June 2017?
 6 recollection. But I'm also not asking you to be a            6     A Yeah, I wouldn't say she really moved in
 7 perfect historian. There's going to be a lot of times        7 with me, you know, she still had her own house that
 8 that I ask you to estimate, or what do you think. And        8 she would -- where her mom lived that she would go
 9 so I just want you to know that you've raised your           9 back to here and there. But we were just together a
10 right hand and gone under oath, but I do understand         10 lot and at my apartment.
11 that what we're talking about today occurred over five      11     Q Okay. What's your current address.
12 years ago. And that you only have a memory of it now.       12     A It is 900 South Broad Street in Commerce.
13 So just understand that I just want your best effort;       13     Q And who did you live with?
14 okay?                                                       14     A My mom and my son.
15    A Okay.                                                  15     Q What's your mom's name?
16    Q Can you state your full name for the record?           16     A Tracy Griffin.
17    A A.G.                                                   17     Q And how old is your son?
18    Q And is it X-X-X?                                       18     A Two. He'll be three this month.
19    A Yes, sir.                                              19     Q So Christmas birthday?
20    Q Have you ever been known by another name               20     A Yes, Christmas Eve birthday.
21 Ms. A.G.?                                                   21     Q Don't think that I'm creeping on you too
22    A No, sir.                                               22 much. G.W. told me that yesterday.
23    Q What's your date of birth?                             23     A That's okay.
24    A 8/28/99.                                               24     Q I do have to admit that. So he'll turn
25    Q Where were you born?                                   25 three December 24th?
                                                     Page 15                                                     Page 17
 1    A In Atlanta.                                             1    A Yes.
 2    Q When did you move to Commerce?                          2    Q So he was born on 12/24/2019?
 3    A Probably couple months after I was born.                3    A Yes, sir.
 4    Q So you were born and raised in -- or you                4    Q Okay. And I don't need to know his name,
 5 were raised in Commerce?                                     5 but what is the son's father's name?
 6    A I was raised in Commerce.                               6    A Gregory Cannon.
 7    Q Okay. How long have you known G.W.?                     7    Q And you do not live with him?
 8    A We met in the eighth grade.                             8    A No.
 9    Q Back in that, you know, 2000s -- I guess you            9    Q Are you in a relationship with him?
10 were a high school senior in 2016?                          10    A No.
11    A Mm-hmm. Yes, sir.                                      11    Q Where does he live?
12    Q That's all right. It'll happen. Did you                12    A He is actually in prison right now.
13 consider G.W. was your best friend?                         13    Q For what?
14    A More of like an acquaintance at the time               14    A He is in there for, like, violation of
15 during high school. We got more close after high            15 probation. They're making him serve out the rest of
16 school. I had another best friend during high school,       16 his probation. He had caught another charge. He has
17 but we just became really close after we graduated.         17 been -- it's about to be two years since he got locked
18    Q Okay. And what high school did y'all go to?            18 up, but he should be getting out within May of next
19    A Commerce.                                              19 year.
20    Q And you would have graduated in May of 2017?           20    Q Okay. Where is he at in prison?
21    A Yes, sir.                                              21    A I'm not sure.
22    Q So tell me how did that kind of happen? You            22    Q Are y'all in communication at all?
23 and G.W. becoming close after you graduated in May of       23    A We do talk.
24 2017?                                                       24    Q So, Ms. A.G., I don't want you think that
25    A We just hung out, like we had little house             25 I'm prying too much. So I want to give you a little

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 1    Q And how long did you live with her?              1     Q Back in June and July of 2017, what was your
 2    A I'd say about a year.                            2 social media presence?
 3    Q Okay. What was your first job that you got       3     A I would say I was on social media pretty
 4 after you stopped going to Georgia Gwinnett?          4 often.
 5    A I think that it was Ryan's.                      5     Q That's a really poor question. Which social
 6    Q The steakhouse?                                  6 media applications did you use?
 7    A Mm-hmm. The buffet place.                        7     A Snapchat, Instagram, maybe a little of
 8    Q And that was a yes?                              8 Facebook.
 9    A Yes.                                             9     Q And moving to as we sit here today, what
10    Q Thank you. Lost my train of thought. Okay. 10 social media accounts do you have?
11 Do you have any prior criminal history?              11     A Snapchat, Instagram, Facebook, Twitter.
12    A I got arrested one time for shoplifting.        12     Q TikTok?
13    Q Where was that at?                              13     A TikTok, yes.
14    A Mall of Georgia.                                14     Q That's when I know I've gotten old is when I
15    Q Do you remember what year it was?               15 don't have a social media account that I'm hearing
16    A I think it might have been 2018, February of 16 about.
17 2018.                                                17        Back in June and July of 2017, Ms. A.G.,
18    Q So you would have been 18 years old at that 18 during this time that you alleged you were being
19 time?                                                19 trafficked at the United Inn & Suites, would you and
20    A Yes.                                            20 G.W. take Snapchats?
21    Q Okay. What ended up happening with that         21     A Yes.
22 charge?                                              22     Q And my understanding as of yesterday is that
23    A I ended up having to do probation, and pay a 23 Snapchat has a mechanism is what I'll call it called
24 fine, and community service. And it got taken off my 24 Snapchat memories. Where it can show things, videos,
25 record.                                              25 pictures that you were Snapchatting in the past. Are
                                                   Page 27                                                    Page 29
 1     Q Any other criminal charges?                       1 you familiar with that?
 2     A No, sir.                                          2     A Yes.
 3     Q Did you hire an attorney for that?                3     Q Now, G.W. apparently used that mechanism and
 4     A No.                                               4 was able to produce for us and we'll go over them
 5     Q Other than that issue and this current            5 later on, but a bunch of pictures and videos that she
 6 lawsuit, have you ever been involved any other          6 says were from June and July of 2017, so my question
 7 lawsuits?                                               7 for you is would you have videos and pictures from
 8     A No, sir.                                          8 June and July of 2017 on Snapchat memories?
 9     Q Have you ever filed for bankruptcy?               9     A I think I may have like one or two pictures
10     A No.                                              10 but a lot of it is not on there anymore, I don't know
11     Q Do you have any legal experience or              11 how I still -- just from that time because there's
12 training, like paralegal training, anything like that? 12 like a period missing in my Snapchat memories and
13     A No.                                              13 there's just like two pictures and that's it.
14     Q Do you know if anyone in your family does? 14           Q Do you know what the two pictures of are
15     A No.                                              15 from?
16     Q Do you have any medical experience or            16     A They're in the hotel room, there's like one
17 training?                                              17 of me sitting on the bed and then there's one of me
18     A No.                                              18 and G.W. naked sitting on the bed.
19     Q Does anyone in your family have any medical 19          Q Okay. And -- is it the same hotel room?
20 experience or training?                                20     A Yes.
21     A My mom worked in the medical field for a         21     Q And where is that hotel room at?
22 little while when I was younger. She was -- she did 22        A United Inn on Memorial Drive.
23 like ultrasound tech and phlebotomy.                   23     Q And just -- anytime we talk about United Inn
24     Q Did you know G.W.'s mother?                      24 today, United Inn & Suites, it'll be understood it's
25     A Yes.                                             25 the one off Memorial Drive; okay?

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 1 she would -- she would just tell us "We'll talk to him      1 floor.
 2 when we get there." She wasn't giving exact                 2     Q Did you have to walk by the lobby to get
 3 information of why we were going there or where we          3 into the room?
 4 were going. We didn't even know where we were going.        4     A Yes, because she was parked right in front
 5    Q And where did she pick you up from?                    5 of the lobby and we just got out of the car and the
 6    A My house, 10 B Wilson Road.                            6 room was right beside the office, if not one door, two
 7    Q Were you with G.W.?                                    7 doors down.
 8    A Yes.                                                   8     Q And did y'all like pack a overnight bag or
 9    Q And then where did y'all go?                           9 something?
10    A Then we went to the hotel, we went to a               10     A Yes.
11 different hotel the first night off of Fulton              11     Q And so Kiki gets the room for y'all and then
12 Industrial.                                                12 she leaves?
13    Q Is that a Red Roof Inn?                               13     A Yes.
14    A I think so, but I'm not sure.                         14     Q So y'all are stuck at a hotel off Fulton
15    Q And again, Ms. A.G., I'm not asking you to            15 Industrial with no vehicle; correct?
16 be a perfect historian here, but do you know about         16     A Yes.
17 what time of day y'all got to this hotel on Fulton         17     Q And either you or G.W. calls P.D., says,
18 Industrial?                                                18 what do we do. He says, y'all go walk the streets?
19    A I would say it was probably ten o'clock at            19     A Yes.
20 night.                                                     20     Q Okay. Take me from there. What did you go
21    Q Okay. So when y'all got there, it was                 21 do?
22 nighttime?                                                 22     A So we went and walked around, we didn't
23    A It was nighttime.                                     23 really know at the time, like, what we were walking
24    Q Okay. So take me from there, y'all pull               24 around for. And then we call him and we're like,
25 into the parking lot of whatever hotel in Fulton           25 we're not sure what we're really supposed to be doing.
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 1 Industrial. What happens next?                              1 Can you tell us? And he was like, just talk to
 2    A And she goes in -- well, we had to give her            2 people. And then that's whenever he told us, he was
 3 money. I'm not exactly sure how much. But we had to         3 like, I'm around, I'll be watching y'all.
 4 pay -- 'cause he told us we needed to bring so much         4         And so then we kept walking a little more
 5 money. And so we gave it to her. And she used it and        5 and we probably had a couple people stop and talk to
 6 went inside and booked a hotel room. And then she           6 us. But at the time, we didn't know that he was
 7 came back out and she told us to just go into the           7 wanting us to have sex. And when people were asking
 8 hotel room and to call P Diddy. And then we called          8 for that, we were like, no, that's not what we're
 9 him, and he told us -- basically all he said was, go        9 doing.
10 walk the streets and make money. That was all he           10         And so then we talked on the phone with him
11 said.                                                      11 again and he was telling us, like, you need to ask
12    Q Did P.D. give you a reason as to why you had          12 them what they want and then give them a price. And
13 to give money to go work for -- with him?                  13 then we -- that's whenever we had texted him and was
14    A No. He just told us that we needed this               14 like, if you want us to make money, you have to tell
15 much money when we got down there. He didn't say           15 us what to do because we still were confused as to
16 exactly why.                                               16 what was going on. 'Cause like I said, we thought
17    Q And you believe Kiki took that money to book          17 that we were giving out dances. Like, we thought he
18 a room in this hotel off Fulton Industrial?                18 was going to set up a private dance with somebody that
19    A Yes.                                                  19 he knew.
20    Q Did you or G.W. go into the is lobby with             20         And so then that's when he told us that we
21 Kiki to book that room?                                    21 were basically going to be -- that's when we finally
22    A No.                                                   22 realized we were going to be fucking for money. And
23    Q Do you remember where the room was in the             23 that night, we only had -- we walked up to -- there
24 hotel?                                                     24 was a truck stop at the end of the road that we had
25    A It was right by the office. On the bottom             25 went to and we had met these two guys. And we had

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 1    Q And what I actually want to ask you about               1     A Right. I know we come in and he asked how
 2 really occurred on June 21st. So you see if you go           2 the night went and everything. And we were like, I
 3 down to this second message, it starts with, "Can I          3 mean, it was okay. It was -- that's what we said to
 4 buy a .5?" Do you see where I'm talking about?               4 him at the time, you know. And then he asked for the
 5    A Yeah.                                                   5 money that we made that night. And then he told
 6    Q All right. And so this is a text from your              6 them -- he told us that we were going to go to a
 7 number to somebody named Qua, Q-U-A. It says June            7 different hotel.
 8 22nd, 2:35 UTC. That's actually 9:35 p.m. on June 21,        8        And so we just got in the car, and we left.
 9 2017. Who is Qua?                                            9 And we went to Doc's house and picked him up. And we
10    A His name's Qua. He's just a guy that I knew            10 were probably sitting in the parking lot there for
11 from high school.                                           11 about an hour. But me and G.W. were kind of like
12    Q Okay. So a friend from Commerce?                       12 dozing to sleep because we had been up all night. And
13    A Yes.                                                   13 then once they came back out to the car, we drove over
14    Q And are these text messages you trying to              14 to the United Inn.
15 get marijuana from him?                                     15     Q Who's Doc?
16    A Yes.                                                   16     A I'm -- I guess he was one of P Diddy's
17    Q Did you recreationally smoke marijuana in              17 workers, friends. I'm not -- that's the only time I
18 June and July of 2017?                                      18 met him. I'm not exactly sure who he was.
19    A Occasionally, yes.                                     19     Q African American man?
20    Q I saw last night when I was going over some            20     A Yes.
21 documents that your attorneys produced reference to         21     Q How old do you think he was?
22 beans which I believe are some form of ecstasy. My          22     A He was probably at least in his 40s I would
23 question is in June and July of 2017 other than             23 have to say. Late 30s.
24 marijuana, did you consume any other drugs?                 24     Q Do you remember where he lived?
25    A No.                                                    25     A No.
                                                     Page 55                                                      Page 57
 1     Q Did you during June and July of 2017 drink        1    Q And so y'all are in wherever he lives
 2 alcohol?                                                2 parking lot for a little while. Then did Doc come
 3     A Yes.                                              3 with you, G.W., and P.D. to the United Inn?
 4     Q How would you get that alcohol?                   4    A Yes.
 5     A I mean, this guy right here is a little bit       5    Q Who was driving?
 6 older, he graduated a couple years before me            6    A P Diddy.
 7 or -- yeah, before me. So people would just bring it. 7      Q And so y'all pull into the United Inn and
 8 Older -- probably like people that were 21.             8 what happens next?
 9     Q Did you have a fake ID in June and July of        9    A So me and G.W. sit in the car and P Diddy
10 2017?                                                  10 gets out and stands in front of the car. And him and
11     A No.                                              11 Doc have a conversation and then Doc goes to the front
12     Q Was there ever a time that you and G.W. went 12 office and gets a room. And then comes back and lets
13 into a strip club?                                     13 us into the room. We all walk inside. Doc walks back
14     A No.                                              14 out. And then P Diddy tells us that we need to get
15     Q Did you ever yourself check into a hotel in      15 ready for the day.
16 June of 2017?                                          16    Q Do you remember where y'all parked at United
17     A No.                                              17 Inn?
18     Q All right. So we left off where                  18    A It was like right in front of our room
19 mister -- or P.D. -- actually so P.D. picked you up on 19 because I just remember getting out of the car and
20 the morning of June 23rd from that hotel at Fulton     20 walking right into the room.
21 Industrial?                                            21    Q Do you remember what room y'all got?
22     A Yes.                                             22    A 112, I think.
23     Q And tell me about that. He comes in, what's 23         Q And explain to me where just based on your
24 the first thing he says to you? Because this is the    24 recollection and the hotel generally, where is room
25 first time y'all have met him; right?                  25 112 of the United Inn?

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 1     A So the office is in the middle and if you             1 then we started walking around again after that.
 2 walk out towards the road to the the lobby to your          2     Q Okay.
 3 left, it's on the left side. But if you're facing           3     A But that first day, we -- we was walking up
 4 towards the hotel, it's on your right side on the           4 and down the hill on Memorial more on the first day.
 5 bottom floor. Kind of closer to the office.                 5     Q Okay. Were you wearing the same outfit on
 6     Q Okay. And there's two parking lots at the             6 that first day you're talking about when y'all were
 7 United Inn; right?                                          7 walking Memorial as you had the night before on Fulton
 8     A The one in the front and the one in the               8 Industrial?
 9 back?                                                       9     A No.
10     Q Yes, ma'am.                                          10     Q What were you wearing at Fulton Industrial?
11     A Yes.                                                 11     A A yellow dress.
12     Q And so y'all are parked in the front parking         12     Q And what kind of shoes if you remember?
13 lot?                                                       13     A I don't remember.
14     A Yes.                                                 14     Q Now, moving back to June 23rd, when y'all
15     Q And so Doc went into the lobby by himself?           15 were walking Memorial. What were you wearing that day
16     A Yes.                                                 16 if you remember?
17     Q Did you ever go into the lobby with him?             17     A I don't remember that first day what I had
18     A No.                                                  18 on.
19     Q And he returns, and he has a room key?               19     Q Do you remember if -- was it your clothes?
20     A Yes.                                                 20     A Yes.
21     Q And so you and G.W. get out of the car and           21     Q All right. So y'all are walking up and down
22 y'all walk straight into room 112?                         22 Memorial on June 23rd. Did you get any -- I'm just
23     A Yes.                                                 23 going to call them customers. Did you get any
24     Q And then that's the last time you see Doc?           24 customers on that first night?
25     A Yes.                                                 25     A During the daytime, no. But when it became
                                                    Page 59                                                      Page 61
 1     Q And does P.D. sit down with y'all in that             1 nighttime, yes.
 2 room and that's he says y'all need to get ready for         2     Q Okay. And tell me about the first customer
 3 the day?                                                    3 when it became nighttime.
 4     A Yeah, he stood in there, it -- it wasn't              4     A So we had -- we had met these guys up at the
 5 long. It was probably five minutes if that and just         5 gas station earlier. And they ended up coming down to
 6 told us that we needed to get ready. And we told him        6 our room and -- they drove down there and came and met
 7 that we were tired. And he was like, you know, I            7 us.
 8 don't care. Y'all still have to walk around during          8     Q And where did you meet them earlier?
 9 the day. And so then he just left with Doc.                 9     A At the gas station.
10     Q Do you have any idea what time of day you            10     Q And at the gas station, did y'all tell them,
11 arrived at United Inn on June 23rd?                        11 hey, we're staying at the United Inn, y'all should
12     A I'm not sure exactly what time it was. I             12 come visit?
13 know it was pretty early.                                  13     A Yes.
14     Q Okay. So does -- after P.D. says, y'all got          14     Q Was commercial sex discussed at the gas
15 to get ready for the day, does he leave?                   15 station?
16     A Yes.                                                 16     A No, it wasn't really blatantly said that's
17     Q And take me from there.                              17 what they wanted. It was just -- they had came up to
18     A So then we get ready, we shower, we change           18 us first wanting to -- and asked where we were at and
19 clothes, and get ready. And then we just go walking        19 what were we doing. And we were like, oh, we're just
20 around. We go Memorial Drive and go to the gas             20 down here at the United Inn if you want to come by.
21 station, I think. Because he gave us, like, $20 to go      21 And that's when they drove down to the hotel and then
22 get something to eat. So we walk up the road and see       22 we discussed it more when they got down there.
23 what's all on the street and get us something to eat       23     Q How many guys was it?
24 and some drinks. And then I think we went back to the      24     A Two.
25 hotel to hang out for a minute and eat and chill and       25     Q Two? You don't know their names; do you?

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 1     A No.                                            1     Q Do you remember what price you gave them?
 2     Q What did they look like best you can           2     A No.
 3 remember?                                            3     Q And so do you proceed to have sex with one
 4     A African-American.                              4 of the men? Both men?
 5     Q Old, young?                                    5     A One. And then -- yeah, so I was in the
 6     A Probably about 30s.                            6 bedroom, and they went in the bathroom.
 7     Q All right. So and we're in nighttime now;      7     Q How long do you think those men with in
 8 correct?                                             8 y'all's room?
 9     A Yes.                                           9     A Probably 30 minutes at the longest.
10     Q So y'all walked back to the United Inn?       10     Q Okay. And then do they leave?
11     A Mm-hmm.                                       11     A Yes.
12            THE REPORTER: Yes?                       12     Q All right. And staying on that night of
13            THE WITNESS: Yes.                        13 June 23rd, I get that technically we could be in the
14 BY MR. STORY:                                       14 early morning hours of June 24th, but just for our
15     Q And they show up -- did you give them your 15 intents and purposes, we'll just call it the first
16 cell phone number?                                  16 night.
17     A I'm not sure. We might have because we did 17        A Mm-hmm.
18 give people our number so they could contact us.    18            THE REPORTER: Yes?
19 Because -- I think that we did give them our number 19            THE WITNESS: Yes. Yes.
20 because they ended up coming back the next day with 20 BY MR. STORY:
21 more people.                                        21     Q It's fine. It's going to happen again.
22     Q Okay. So let's stay with June 23rd the        22 It's okay.
23 first time. All right. So they show up and you said 23         All right. Tell me about was there a second
24 y'all start talking. And what's that conversation?  24 customer on the first night?
25     A Whenever we get back to the hotel?            25     A There was three people total on that first
                                                     Page 63                                                        Page 65
 1     Q Yes, ma'am?                                            1 night. So there was the two that were together and
 2     A We asked them what they were looking for.              2 then there was one more later on or early in the
 3 That's how we would come about it. And I -- I think          3 morning.
 4 that they said that they were just looking to have           4    Q And where did you find him?
 5 fun. And that's all they said. And then they came in         5    A He came driving into the parking lot and was
 6 the room and -- 'cause this was all out in the parking       6 like riding around and then stopped and talked to us
 7 lot when we were talking to them, we were standing           7 'cause we were just standing in the parking lot at the
 8 outside of their car having this conversation. And           8 time.
 9 then they come in the room and we just -- I think            9    Q Front or back?
10 that's when we discussed a price and what they wanted.      10    A Front.
11 And they -- I think G.W. went with one of them and I        11    Q And so he pulls up, y'all have a
12 went with one of them.                                      12 conversation, and does he park the car and come to
13     Q Did y'all's room have one bed or two beds?            13 your room?
14     A Two beds.                                             14    A Yes, but he parked around back.
15     Q So would each of y'all be in a bed?                   15    Q Did y'all tell him to park around back?
16     A I'm actually not sure about that.                     16    A No.
17     Q That's okay.                                          17    Q And you don't know this guy's name?
18     A I can't remember if it was one king bed or            18    A No.
19 if it was two beds.                                         19    Q What did he look like?
20     Q Okay. When y'all were talking at the car,             20    A I can't remember exactly what he looked
21 front parking lot or back parking lot?                      21 like, but he had some type of like construction gear
22     A Front.                                                22 on, like that shiny construction gear. That's all I
23     Q And what was it that these guys said they             23 can remember about him.
24 wanted?                                                     24    Q So he came into room 112, and what happened?
25     A They said that they wanted sex.                       25    A And then me and G.W. both had sex with him.

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 1     A Yes.                                                   1 what you can remember about these three plays and
 2     Q And I think we established this, but the 346           2 already making over 400?
 3 number is the number from the phone that P.D. gave           3     A If it's -- 'cause I know on Saturday, we had
 4 you?                                                         4 a group of people. It was like five people. I don't
 5     A Yes.                                                   5 know if, like, one of those plays would be that group.
 6     Q Okay. You can go to page 736. Actually,                6 If I considered that just one. And then -- I can't
 7 you can go to 735. And I'm reading message 8753 which        7 really remember exactly who I'm talking about and how
 8 is from P.D. to Ms. A.G. June 24, 2017, at 6:12 p.m.         8 they happened that night.
 9 Eastern. It states, "The only time you pass out your         9     Q Outside of that message, and just talking
10 phone number is after you've already turned the trick       10 about that Saturday, can you remember who the -- what
11 with the john. Then you can give him the number.            11 customers you dealt with on that day specifically?
12 Nobody gets the number before they spend the money          12     A I know on that day --
13 with you. Do you understand that??" End of message.         13           MR. BOUCHARD: Talking about June 25th,
14        Can you just briefly, Ms. A.G., explain what         14 Saturday?
15 turning a trick with a john means?                          15           MR. STORY: That -- June 24, 2017,
16     A I'm guessing having sex with money for one            16 which was a Saturday.
17 of the guys.                                                17           MR. BOUCHARD: June 24th? Yep.
18     Q And, Ms. A.G., I'm not trying to be                   18           MR. STORY: Yes.
19 difficult with you, but -- so this gets into a              19           THE WITNESS: Saturday, as in that
20 written -- you said that you guess. And really what I       20 night on Saturday? Like before --
21 want to know is based on your understanding of dealing      21 BY MR. STORY:
22 with P.D., did you understand when he said turn the         22     Q That's a very good question. I am talking
23 trick with the john to mean having sex with someone         23 about Saturday night, June 24th going into the early
24 for money?                                                  24 morning hours of June 25th which is a Sunday.
25     A Yes, I -- it's after -- after we already met          25     A Okay. Okay.
                                                     Page 71                                                        Page 73
 1 whoever, I'm guessing john is like a john doe, like,         1     Q And just so -- because I want you to
 2 something you don't know their name. And then after          2 understand where we're at, the first night you stayed
 3 the trick, which is having sex, that's what you can          3 at the United Inn was June 23rd and that's when y'all
 4 give out your number.                                        4 walked Memorial. And so then -- and you've told me
 5     Q Okay. And if you'll flip the next page 734             5 about that time. Then you wake up and now we're on
 6 and start at -- I'm going to read it out loud for the        6 Saturday, June 24th and we're talking about that night
 7 record. But just so you can read along, I'm going to         7 which would go into June 25th; okay?
 8 start at 8740 and work my way up.                            8     A Okay. Okay.
 9     A Okay.                                                  9     Q So tell me the best you can what you
10     Q And 8740 is a message from P.D. to Ms. A.G.           10 remember about the customers on June 24th going into
11 It says June 25, 2017, at 4:07 a.m. that's really           11 June 25th?
12 June 24, 2017, at 11:07 p.m. It states, "How you            12     A We had two groups of people. One was more
13 doing tonight?" Ms. A.G. replies, "We've made three         13 of Hispanic guys and there was -- I'd say four or five
14 plays and already made over 400." P.D. responds,            14 of them. And then there was another group of guys.
15 "That's my girls." Ms. A.G. responds, "Yeah, but we         15 The two guys that I had told you about from Friday,
16 had to sit in the hotel for a min 'cause something was      16 they had texted us. I'm not sure if they texted
17 happening outside the hotel." Then P.D. says, "Just         17 us -- I -- I -- that's what I think is that they
18 don't miss too much $$." End of message.                    18 texted us and came back the next day. But I know for
19        So this is the night of June 24, 2017, which         19 sure it was those guys, but I don't know exactly how
20 is a Saturday and we'd already gone over the first          20 they ended up back there. And they brought more
21 night where you had the group of two guys and then the      21 people with them. And there was either four or five
22 construction worker. So we're second night just to          22 of them.
23 give you context.                                           23     Q And we'll talk about those two interactions
24     A Okay.                                                 24 in a second. Any other customers that you can recall
25     Q Tell me to the best of your recollection,             25 on that Saturday night early Sunday morning June 24th

                                                                                                     19 (Pages 70 - 73)
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 1 and 25th of 2017?                                           1 Kleenex right there. Do you need -- is that your
 2    A Not any that I, like, remember. It could be            2 drink?
 3 possible there was other people that night, but             3     A Mm-hmm.
 4 because those two are the only things that really pop       4     Q Okay. Take your time. It's not a race.
 5 into my head from that night.                               5     A I just remember them coming in the room and
 6    Q Okay. Which one happened first in time if              6 it was just like they stood in a line and just kind
 7 you remember? The Hispanic guys or the group from the       7 of -- each one -- it was mostly just me that did stuff
 8 two guys that you had met with Friday?                      8 with them. It -- some of them got oral sex and some
 9    A The Hispanic guys.                                     9 of them was just having sex. Can't think of --
10    Q Okay. How did you meet them?                          10     Q Did you have sexual intercourse with all of
11    A We met them -- we were standing, like,                11 the guys in that group?
12 outside on the sidewalk in front of the hotel. And         12     A I am not sure if it was all of them. I
13 they drove by, and they stopped to talk to us.             13 think there were one or maybe two that it was just
14    Q When you say you were standing on the                 14 oral sex.
15 sidewalk, as in if you would have walked away from the     15     Q Can you recall roughly how long they were in
16 hotel, would you have stepped onto Memorial Drive?         16 your room?
17    A Yes.                                                  17     A I would say it was not too long, but it was
18    Q Okay. And so they were driving on Memorial            18 probably at least like 45 minutes.
19 Drive?                                                     19     Q And what was G.W. doing?
20    A Yes. And we were standing in front of the             20     A She was kind of just like standing on the
21 hotel. And they pulled into the parking lot to talk        21 side of the bed -- on the other side of the bed. I
22 to us. And so we walked over to them to talk to them.      22 was on one side of the bed; she was on the other side
23 And they asked what we were doing out there. And we        23 of the bed. And she was saying that she didn't want
24 said, what are y'all looking for? And they said that       24 to mess with any of them, so she was just kind of
25 they were looking for sex. And then we discussed a         25 sitting there.
                                                    Page 75                                                        Page 77
 1 price. I'm not sure how much. But I'm -- what had           1    Q All right. So the -- all of it happens,
 2 happened with them is we had discussed a price and          2 they're in there for roughly 45 minutes. Then do they
 3 they were not trying to pay what they said they were        3 leave?
 4 going to pay.                                               4    A So then we told them they needed to pay, and
 5     Q Okay. And so did that -- when you say they            5 they wasn't -- they were trying to pay less than what
 6 were not paying what they said they were going to pay,      6 they had said they were going to pay originally. And
 7 when did that come up? Was that before or after the         7 so then that -- I think -- we had texted P Diddy and
 8 commercial sex had been performed?                          8 told him that they weren't trying to pay. And we
 9     A That was after.                                       9 kicked them out. G.W. told them that if they didn't
10     Q About what time of day was this if you can           10 get out, she was going to pepper spray them. So we
11 remember?                                                  11 pushed -- she pushed them out of the room.
12     A I don't remember exactly what time.                  12        And when she pushed them out of the
13     Q Was it nighttime outside?                            13 room -- she shut the door and they started banging on
14     A It was at nighttime.                                 14 the door or like, probably like 15 to 20 minutes
15     Q Okay. And so y'all discuss a price, I know           15 because one of the guys had left his shoes. I know
16 you don't remember it. Did they park in the front or       16 for sure his shoes, but I think that there was
17 in the back?                                               17 something else. I don't know if it was his wallet or
18     A In the front.                                        18 something. And so he wanted to get back in to get his
19     Q And then all four to five of those Hispanic          19 stuff. And then we finally opened the door and handed
20 guys go into room 112 where you and G.W. are?              20 them their stuff after like 15 minutes of them banging
21     A Yes.                                                 21 on the door. And then they left.
22     Q Okay. And, you know, Ms. A.G., I'm sorry             22    Q In the room y'all are in that night, the
23 that I have to get into this, but it is what it is.        23 door that goes in and out of that room, if you walked
24 What happens when those men come in? And take your         24 out of the room, would you be in the front parking lot
25 time, we can take as many breaks as you need. You got      25 of United Inn?

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 1 finally got in the car and left.                             1        It states, "When you coming to get the
 2     Q Do you remember what you were wearing on               2 money?" P.D. responds, "How much is it?" You respond
 3 June 24, 2017? That Saturday night going into the            3 back, "Over five." P.D. says, "Take $2 to go to the
 4 morning of June 25th, Sunday?                                4 store and get some blunts." You say, "Okay." And
 5     A I don't remember exactly what I was wearing,           5 then you send another message, it says, "I couldn't
 6 but I know I didn't have a lot of clothes on. Like           6 get them across the street. And the other one is all
 7 little clothing covering my body.                            7 the way at the top of the hill." And then we'll flip
 8     Q Was it your clothes?                                   8 over the page 731, P.D. says to you, "I don't worry
 9     A Yes.                                                   9 about, I will get them." He then sends another
10     Q Were you -- did P.D. or anybody associated            10 message two minutes later to you, "Y'all go ahead and
11 with P.D. ever provide you clothes to wear?                 11 clock out. I will get them." And then an hour later
12     A No.                                                   12 at 3:56 a.m. Eastern Time, he says to you, "Delete all
13     Q If we could go back to the that exhibit.              13 texts from you and I now."
14 And I want to go to the front page of it. It's              14        So it sounds like to me, if P.D. told you to
15 page 733. And I'm going to -- I'm going to read up          15 clock out, did that mean based on your understanding
16 from 8728 which I'm going to start with a message from      16 that y'all did not have to go solicit yourselves
17 Ms. A.G. to P.D., it's dated June 25, 2017, at 6:23         17 anymore?
18 a.m., really that would be June 25, 2017, at 1:23 a.m.      18     A Yes.
19         It says, "Do you keep driving up and down?          19     Q Okay. And so that would have been about
20 Are you the one that keeps passing us and waving?"          20 3:00 a.m. on that Sunday, June 25th. Why did P.D.
21 P.D. responds, "No, I would never bring that kind of        21 want you to delete all the texts from him?
22 attention to myself." You respond back, "Well, there        22     A I'm not sure. I guess just to keep himself
23 is a car that has drive past us like ten times and now      23 safe in case something happened.
24 it is parked watching us." P.D. says, "Keep a eye on        24     Q Did you know anything about his criminal
25 him. Could be some bullshit or he could be jacking          25 history at this time?
                                                     Page 83                                                        Page 85
 1 his D**K! Just keep working." You respond, "Okay,            1     A No.
 2 daddy." End of message.                                      2     Q Did you and P.D. ever have any sexual
 3         So this is -- I know that it's on Sunday,            3 interaction?
 4 but really what we've been talking about this night to       4     A No.
 5 Saturday night. Do you -- did anything come of this?         5     Q I don't have any other questions for you,
 6 In reading these messages, do you remember that              6 Ms. A.G., on that exhibit if you want to put it aside.
 7 happening?                                                   7        I'm going to hand you what I'm marking next
 8      A I do remember that happening, but I don't             8 as Defendant's Exhibit 5, which again, is the FBI
 9 think anything happened past the person driving by.          9 records of Zaccheus Obie's cell phone records.
10      Q Okay. I'm going to hand you what I'm                 10           (Defendant's Exhibit 5 was marked for
11 marking as Defendant's Exhibit 4. And again, these          11           identification.)
12 are cell phone records from P.D. or Zaccheus Obie that      12           MR. STORY: And it is page Number 723
13 were obtained by the FBI in the criminal                    13 and 24 for the record.
14 investigation.                                              14 BY MR. STORY:
15            (Defendant's Exhibit 4 was marked for            15     Q And if just real quickly, Ms. A.G., you'll
16            identification.)                                 16 turn to page 724 of the second page, that message 8611
17            MR. STORY: And for the record, the               17 which is the second from the top. I'm going to read
18 pages from the FBI are 731 and 732.                         18 that and then I'm going to go to the front page to
19 BY MR. STORY:                                               19 finish the conversation. I'm just trying to be as
20      Q And, Ms. A.G., again if we can start on the          20 efficient as possible.
21 last page. And I want to start with message 8711 and        21        From P.D. to you June 25, 2017, it says 7:23
22 it's from P.D. to you June 25, 2017, at 7:35 a.m.           22 p.m., with the time change that would be 2:23 p.m.
23 Excuse me -- I'm going to start at 8713 which is a          23 The text states, "What's your goal for tonight??" Ms.
24 message from you to P.D. June 25, 2017, with the time       24 A.G. responds to P.D. and says, "To make more than I
25 change, it's at 2:34 in the morning.                        25 did last night. LOL." And then P.D. responds with

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 1 what appears from my poor vision to be a smiley face         1     Q Okay. And then he says something about
 2 emoji, but I'm not sure. But I'm not going to ask you        2 stunning on your little partner. Do you know what
 3 about that.                                                  3 he's referring to there?
 4        So, Ms. A.G., this is that Sunday,                    4     A No, I don't know exactly who he's talking
 5 July 25th -- or excuse me, June 25th. At this point,         5 about. I know if he's talking about just our friends.
 6 you'd had sex -- commercial sex with three men on            6 I'm not sure.
 7 June 23rd and from anywhere to eight to ten men on the       7     Q Did you have a boyfriend at the time?
 8 night of June 24th. Do you have a recollection of the        8     A No, but Gregory that was living with us at
 9 customers that you had on the night of June 25th going       9 the time, that's --
10 into the early morning hours of Monday, June 26th?          10     Q Payton's boyfriend?
11     A No.                                                   11     A Mm-hmm, that's my now baby daddy. At the
12     Q Okay. So sitting here right now, you don't            12 time, I mean me and him were kind of on and off so
13 have any recollection of anyone else?                       13 maybe he was talking about him.
14     A Not -- I mean, I -- I remember there was              14     Q Okay. Did you ever personally -- I'll
15 more that happened that night, but I can't remember         15 strike that.
16 exactly how many or who. I think it's because, you          16        My understanding is that every night that
17 know, I remember more things than others with what          17 you and G.W. made money, that money would be collected
18 happened. But I know stuff did still happen on Sunday       18 the next morning by P.D. or one of his associates; is
19 night for sure. I just don't know how many.                 19 that correct?
20     Q Okay. Ms. A.G., I'm going to hand you what            20     A Yes.
21 I've marked as Defendant's Exhibit 6, which again, is       21     Q Did you yourself ever ask P.D. when am I
22 Zaccheus Obie's cell phone records from the FBI.            22 going to get paid? Why am I not getting any of this
23           (Defendant's Exhibit 6 was marked for             23 money?
24           identification.)                                  24     A Yes, I'm pretty sure we asked him like when
25           MR. STORY: It's pages 719 and 720 for             25 we would start making money, because he was taking
                                                     Page 87                                                        Page 89
 1 the record.                                                  1 everything that we were making. And he would just
 2 BY MR. STORY:                                                2 tell us to give it time. That it would all work out.
 3     Q If you could flip to the second page, 720              3 And we would have everything that we wanted. Even
 4 for me. I'm going to read through the text message           4 though right here in these messages, he says, you
 5 conversation and then ask you some questions.                5 know, if you stay for two weeks, I'll have y'all go
 6        And I'm going to start 8566 which is a                6 back, you know, looking like bosses.
 7 message from Zaccheus Obie to Ms. A.G. It's June 25,         7     Q Do you have any recollection of him talking
 8 2017, with the time change, it'd be 3:09 p.m. Eastern.       8 to you or G.W. in your presence about buying y'all a
 9        It states, "That's why we really need to              9 house?
10 stay down for about a good two weeks straight so when       10     A He did talk to us about that. He said that,
11 y'all go back to visit the house, y'all can have shit       11 you know, he would either have us an apartment or we
12 to show for it. And go out and splurge and stunt on         12 would be able to get a house if we just, you know,
13 your little partner and show him how you came down to       13 stayed down and did what he told us to do.
14 the A and bossed the fuck up... so do we all agree to       14     Q Okay. And if you'll go to page 719 which is
15 stay down and get this money so I can send y'all back       15 the front page of Exhibit 6. And I'm going to start
16 looking like my bitches... so all your friends can be       16 at message 8560 which is a message from you to P.D.
17 wondering who you're fucking with so when you come          17 June 25, 2017, with the time change it would be at
18 back, you might can bring one or two of them with           18 3:18 p.m.
19 you." End of message.                                       19        Message states, "If you let us go home till
20        Ms. A.G., what is -- what's P.D. talking             20 Thursday, we will come back and stay for two weeks
21 about when he says, when y'all do go back to visit the      21 because we got to go home and get all of our shit in
22 house, y'all can have shit to show? Do you know the         22 line and stuff like that." And then 30 seconds later,
23 house he's referring to?                                    23 you send P.D. another message saying, "Is this all
24     A To my house, to my apartment at 110 B                 24 we're going to be doing for those two weeks?" And
25 Wilson.                                                     25 P.D. responds to you and says, "No, I got other moves

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 1     A No, I do not.                                          1 was mad LOL."
 2     Q And this message of you saying, only like              2        And P.D. says to you, "My traveler should be
 3 $150, it was dead last night, with the time change           3 there in a -- so y'all be ready. And when you get
 4 that would be at 1:30 a.m. on Monday morning, Sunday         4 home make sure y'all check in with me on a daily basis
 5 night. Is it fair to say that you would have been            5 to let me know y'all straight."
 6 talking about Sunday night?                                  6        And then there's another message at the top,
 7     A Yes.                                                   7 8407 from P.D. to you that states, "No, baby girl, I
 8     Q Okay. Based on your knowledge of what you              8 don't get mad. Then why would I be mad at you? We on
 9 would charge for commercial sex services during that         9 the same team. I'll get mad for you but not at you.
10 time, do you have an idea of how many customers it          10 We are one."
11 would take for you to earn $150?                            11        Going to page 706, you respond and say,
12     A It might have been two or three.                      12 "Okay. That's good." And then we'll stop there.
13     Q Okay. And do you remember why you were                13        So on that Monday morning, did you P.D. pick
14 asking P.D. about getting separate rooms?                   14 you up in the United Inn?
15     A I think that it was because, like I said,             15     A No.
16 people were wanting to just be in a room by themselves      16     Q What he calls his traveler picked you up?
17 and that's why we said that. And also, it felt like I       17     A Yes.
18 was the only one that was doing anything, like, G.W.        18     Q What was that?
19 would make me -- she would just sit there while I           19     A I'm not -- I assume that it was Kiki, but
20 would be having sex with the guys or, you know, oral        20 I'm not for sure on that.
21 sex with the guys. And so I think I also said it            21     Q Whoever did pick you up, did they take you
22 because I felt like, if we had our own rooms, we each       22 and G.W. back to Commerce?
23 had to do our own thing. It wouldn't all depend on          23     A Yes.
24 one of us to be doing everything.                           24     Q And did -- why did you call Zaccheus Obie
25     Q Okay. I'm going to hand you what I'm                  25 P.D.?
                                                     Page 95                                                      Page 97
 1 marking Defendant's Exhibit 9.                               1     A Because he wanted us to call him daddy and
 2            (Defendant's Exhibit 9 was marked for             2 we looked at him as a pimp. And so we just -- P.D.,
 3            identification.)                                  3 Pimp Daddy.
 4         Again, these are from the FBI search of              4     Q Okay. And did you and G.W. create that
 5 Zaccheus Obie's phone. There's a decent bit of pages         5 nickname?
 6 in this exhibit so it's going to take a second to go         6     A Yes.
 7 through, but it's pages 704, 705, 706, and 707. We're        7     Q Okay. Are you on page 706 still?
 8 going to start at 707, Ms. A.G., and work our way back       8     A Oh.
 9 from there.                                                  9     Q That's okay. That's all right. I'm going
10         And specifically, I'm going to message 8415         10 to start with message 8404, it's towards the bottom.
11 which is a message from you to P.D. on June 26, 2017,       11 It's from P.D. to you on June 26, 2017, which that
12 which was a Monday. If you take into the account the        12 Monday, reset for time, 7:24 a.m. Eastern.
13 time change, it would be at 6:28 in the morning.            13         Message states, "I just wasn't very
14         You state, "You can come in now."                   14 talkative because it's -- I had so much to do. I rip
15         P.D. responds, "What was the reason I had to        15 and run all night watching y'all backs. And I rip and
16 wait outside?"                                              16 run all day handling the other end of the business.
17         You say, "G.W. was changing and we had to           17 So I just had other moves that I had to go and make
18 clean our room."                                            18 really fast. That's all. We good, we'll a family."
19         P.D. says to you, "Man, y'all ain't got             19 You respond and say, "Oh, okay. We understand. We're
20 nothing that I ain't never seen before."                    20 going to miss you these next few days though, but we
21         You respond, "Okay. LOL. We'll let you in           21 got you like you got us." He responds with an acronym
22 next time."                                                 22 to you saying, "L.L.R." You say, "What's that?" He
23         P.D. says, "Man, y'all hell. I fuck with            23 responds back, "Love, loyalty, and respect."
24 y'all though."                                              24         If you'll turn to the next page 705. You
25         You respond and state, "Good, we thought you        25 message to him, "We're hungry, LOL." P.D. says to

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 1 you, "Y'all don't stop and get something to eat on the       1 from the commercial sex services you'd been providing?
 2 way home." He then sends another message to you a            2     A No.
 3 minute later, and this is at 7:35 a.m. Eastern on            3     Q So you get back -- how long is the drive
 4 June 26, 2017, "Head out the door, the car is out            4 from Atlanta to Commerce?
 5 there waiting. Call me when you get home."                   5     A It's about an hour, 15 minutes, maybe a
 6        He sends another message to you, "Delete              6 little longer.
 7 your text inbox of our conversations." He then sends         7     Q You get back to Commerce, do you tell
 8 you another message, "I'm going to miss you so don't         8 anybody about what's happened?
 9 keep me waiting too long." You respond and say, "We          9     A I think we sat and talked with Gregory and
10 won't, daddy." And going to 704 the front page. P.D.        10 Payton. And we told Payton this is nothing what you
11 says to you, "L.L.R., remember this because this is         11 told us, how it was going to be.
12 what we all have for one another. This is what we           12     Q Was G.W. staying with you still?
13 represent."                                                 13     A Yes, we stayed at -- we went back to my
14        Ms. A.G., at this point, I mean, would you           14 house and was there for a little while, yes.
15 agree with me that love, loyalty, and respect is not        15     Q Did you tell your mom about going to Atlanta
16 what P.D. was showing you?                                  16 for that weekend of June 23rd to the 25th?
17    A Yes, he was not showing us that. I think he            17     A I'm not sure if I told her exactly what had
18 was just trying to manipulate us and get us to trust        18 happened that weekend. But before I had left, I had
19 him by saying that.                                         19 told her that I was moving to Atlanta with a friend
20    Q And I mean, at this point you're getting               20 for the summer. And that was all I had told her, the
21 these messages, you're 17 years old, I know you're not      21 information I gave her. And she just kind of had a
22 18 yet, but you're a month away from 18. You've been        22 bad feeling about it as a parent.
23 through high school at Commerce High, are you playing       23     Q Is your mom friends with G.W.'s mom?
24 his game to get away from him?                              24     A I wouldn't say friends. I would say they
25    A Yes.                                                   25 have "talken" a couple times here and there, but
                                                     Page 99                                                       Page 101
 1    Q You didn't buy this love, loyalty, and                  1 that's it.
 2 respect stuff that he was speaking, did you?                 2     Q Like, do you think your mom had G.W.'s mom's
 3    A I feel like at the time, by -- this is at               3 cell phone number back then?
 4 the end of the weekend, I think we were more scared,         4     A No.
 5 and we were playing the part so we could get to go           5     Q I'm going to hand you what I'm marking as
 6 home. Because we were scared if we didn't, he                6 Defendant's Exhibit 10.
 7 wouldn't have let us go home. Because he did not want        7            (Defendant's Exhibit 10 was marked for
 8 us to go home. So I do believe that we were just             8            identification.)
 9 playing into what he wanted us to say.                       9         Not to sound like a broken record, but this
10    Q I understand. And do you think you were                10 is again from FBI records of Zaccheus Obie's cell
11 saying we and I know that you're speaking on your           11 phone records. And it's pages 681 and 682. I want to
12 behalf and your knowledge, but the reality is you           12 start on page 682, specifically message 8115.
13 don't ever come back and G.W. does. Based on your           13         And this is a message from you to P.D. on
14 observations, was it your understanding that on Monday      14 June 28, 2017, at 11:37 so really that's 6:37 p.m.
15 June 26, 2017, it was G.W.'s position of let's get out      15 Eastern. And just to give you full context, that's on
16 of here, go back home to Commerce, and never come           16 Wednesday. So you got home on Monday, this is on
17 back?                                                       17 Wednesday.
18    A Yes, I definitely feel like she felt the               18     A Okay.
19 same way at that time. We just didn't know exactly          19     Q You say, "I just want to let you know, I'm
20 how to do it. And how to get out of it.                     20 not coming tomorrow. I'm going to come Sunday. I
21    Q And when y'all get taken back -- y'all did             21 will even get somebody to bring me if I have to. And
22 get taken back? When whoever picked you up, they did        22 I wanted to ask you another question. If I were to
23 take you back to Commerce on June 26th?                     23 wait till I was 18 to come back, would I still have to
24    A Yes.                                                   24 go through all these steps?" And then he
25    Q And did you have a dollar in your pocket               25 responds -- P.D. responds to you and says, "Yes."

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 1        What did you mean about waiting till you're          1 with G.W. about, you know, this isn't what we signed
 2 18 to come back if you'd still have to go through all       2 up for, let's call this lady?
 3 these steps?                                                3     A No, I don't think we ever did talk about
 4    A Like, if I were to come back when I was 18,            4 really calling her. We were -- we were kind of scared
 5 would I just be able to dance? Would you not make me        5 to reach out to anybody while we were down there
 6 have sex for money?                                         6 because, like, you know, he kept saying he was
 7    Q Was there a time that he told you that the             7 watching us. And we didn't know who was involved, who
 8 reason you were having sex for money as opposed to          8 was watching us, or who was where. And especially
 9 dancing for money was because you were not 18?              9 because my phone came from him, and I didn't know if
10    A Yes.                                                  10 he could see stuff that I was doing on my phone too.
11    Q And how did he -- what was his reasoning for          11     Q Okay. I'm going to hand you what I'm
12 that?                                                      12 marking as Defendant's Exhibit 11.
13    A Because we didn't have an ID to be able to            13           (Defendant's Exhibit 11 was marked for
14 work, like, and dance.                                     14           identification.)
15    Q Going back really quick to that group of              15        Again, this is from the FBI records of
16 Mexican guys. Did any of them ask you if you were          16 Zaccheus Obie's cell phone, and it is page 679, for
17 under 18?                                                  17 the record. And I want to draw your attention, Ms.
18    A Not that I can remember.                              18 A.G., to the bottom message which is 8082 and it's
19    Q And then that next group that came back with          19 from P.D. to you. And it says June 29th, but if you
20 the two guys that y'all had met on Friday night, did       20 do the time change, that's really June 28th which was
21 anybody in that group ask if you were under 18?            21 a Wednesday at 10:09 p.m. And the message states,
22    A Not that I can remember. But I know there             22 "So how do you think you did on your test ???"
23 was at one point, somebody who told us that we looked      23        Tell me, what is P.D. is talking about if
24 pretty young. And that we definitely looked too young      24 you know?
25 to be out there doing what we were doing.                  25     A I do not know.
                                                   Page 103                                                    Page 105
 1     Q Was it a lady in the parking lot of United       1      Q Okay.
 2 Inn who said, y'all don't need to be doing this, and   2      A I'm sure it's some excuse I came up with as
 3 handed you a business card?                            3 to why I could not go back.
 4     A That was a different one. That was somebody 4           Q Next, I'm going to hand you what I'm marking
 5 else who said that to us. But we had -- I              5 as Defendant's Exhibit 12.
 6 had -- there was one of the customer -- or             6           (Defendant's Exhibit 12 was marked for
 7 somebody -- we were either just talking to him about 7             identification.)
 8 it. About making a play or whatever about having sex 8          Again, this is Zaccheus Obie's cell phone
 9 for money and he was like, I don't know, y'all look    9 records, and the pages are 622, 623, and 624. Ms.
10 kind of young. Y'all look too young to be out here    10 A.G., we're going to start at 624 and work our way up
11 doing this.                                           11 to the front. So I'm going to start at message 7418,
12         And that was -- and then the lady was a       12 it's towards the bottom. And this is a message from
13 different time. Somebody told us that we looked too 13 you to P.D. July 1, 2017, adjusted for the time change
14 young and gave us a card that -- if we needed help.   14 it would be at 3:27 p.m. And just to keep our
15     Q Tell me about the lady that gave you the        15 reference points, Ms. A.G., this is on the Saturday.
16 card? Did she just hand you the card, say, y'all look 16 So came home on Monday, this is that Saturday.
17 too young, you don't need to be doing this. If you    17      A Okay.
18 need help, call this number?                          18      Q You text P.D. and say, "You wanted me to
19     A Yes.                                            19 text you." P.D. responds, "Light Bright what time do
20     Q Did you keep that card?                         20 you need to see your mother?? And why haven't you
21     A I'm not sure. I know I don't have it now,       21 already taken care of all of that? I got a lot of
22 but I'm not sure. I'm sure we held onto it for a      22 stuff planned for tomorrow. I got a lot of different
23 little while. But I don't know whatever happened to 23 moves that I have to make and I'm trying to beat the
24 it.                                                   24 traffic." He then sends a message immediately after
25     Q Do you remember ever having a conversation 25 that says, "Light Bright, what" -- and then it's

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 1 reaching out.                                           1 would get mad at her. So I think that's the reason I
 2    A Yeah, I know it wasn't very much. It was           2 was still kind of just telling him things that he
 3 only a couple times that he tried to reach out to me    3 wanted to hear.
 4 and get me to come back. But that was it.               4     Q And you know, this is like 18 or 19 -- or
 5    Q Did he ever threaten you about if you don't        5 excuse me. It's actually like three weeks after you
 6 come back, I will...?                                   6 had returned home. Are you still -- would you still
 7    A No, he never directly threatened me or             7 have been talking to G.W. every day?
 8 anything.                                               8     A I don't know -- I don't think we were
 9    Q Did you feel like you had put yourself in          9 talking every day. We had talked, you know, here and
10 harm's way by deciding not to go back when you were 10 there, but I don't think we talked every day.
11 taken home on June 26th of 2017?                       11     Q Do you remember a time that G.W. told you
12    A Yes, I was very afraid whenever I went back 12 after you came back to Commerce that she was starting
13 because they knew where I lived at. That's what        13 to like it?
14 scared me the most. And also, because I didn't know 14        A I think she was starting to get more
15 him, and I did not know what he was capable of.        15 comfortable.
16    Q And is there anything that you're aware of?       16     Q Okay. And that's just based on the context
17 Like, any consequence that you suffered as a result of 17 of the conversations you were having with her?
18 not coming back that you believe was the               18     A Right.
19 responsibility of P.D. or his associates?              19     Q When did you -- I'll represent to you that
20    A As -- like, as far as what?                       20 on July 23, 2017, P.D. was arrested. I can't remember
21    Q So you told me that you were scared when you 21 if it was by the FBI or GBI, but he was arrested and
22 didn't come back because they knew where you lived. 22 Kiki was in the car with him, and G.W. was in the car
23 Do you remember that?                                  23 with him. And so that would have been July 23, 2017,
24    A Yes.                                              24 which that was the Sunday. So just under four weeks
25    Q See? You're correcting yourself. My               25 from when you had been back, do you remember the first
                                                  Page 115                                                    Page 117
 1 question is: Did anything actually happen?              1 time you heard about that happening?
 2    A No, nothing actually happened to my                2     A I don't recall exactly when it was and how I
 3 knowledge that I know of.                               3 heard about it.
 4    Q Okay. This is on July 19th, when you say, I        4     Q Okay. Did you get contacted by the police?
 5 just got a job and I start school on August 10th. Do    5     A By the FBI? I don't -- I know I had contact
 6 you know if that's the truth or were you just lying to  6 with the FBI but I'm not exactly sure who all I talked
 7 him?                                                    7 to.
 8    A I'm pretty sure that's the truth.                  8     Q And what do you remember about the initial
 9    Q Okay. Do you remember what job you had             9 contact? What did they say to you?
10 gotten?                                                10     A I'm not sure if we had, like, talked on a
11    A I'm not sure.                                     11 phone call before, but I know they ended up coming to
12    Q Was this the time of Ryan's steakhouse?           12 the house and we sat down and talked about what had
13    A It probably was Ryan's, I -- I'm thinking.        13 happened. And that's when they took my phones. And
14    Q Okay. Tell me what your basis for saying if 14 that was the first time I feel like my mother was
15 you can recall when you say, "It's not even because I 15 there and we all sat down and talked about it.
16 think it's bad or anything, I believe G.W. is really   16     Q Did they take both of your phones?
17 likening it right now." What made you say that?        17     A Yes.
18    A I just didn't want him to think -- or I just      18     Q When did they give them back?
19 didn't want him to be mad at me and think that that    19     A Years later.
20 was the reason that I wasn't there, even though it     20          MR. BOUCHARD: At a logical breaking
21 was. Because I knew that G.W. was still there and I 21 point, can we take a break? Whenever?
22 did not want her to get her. So I was trying to have 22            MR. STORY: We're at it.
23 her back from a distance even without being there      23          MR. BOUCHARD: Okay. Yeah?
24 because I was scared, you know, based on the things 24             MR. STORY: Let's take a five,
25 that I would say something could happen to her or he 25 ten-minute break if we can go off the record.

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 1           THE REPORTER: We're off the record at              1 from that, we would basically just stay mostly down at
 2 2:06 p.m.                                                    2 the bottom in the parking lot or right there in front
 3           (Off the record.)                                  3 of the parking lot where the red light was.
 4           THE REPORTER: And we are back on the               4     Q When you say down at the bottom, do you mean
 5 record at 2:24 p.m.                                          5 the back parking lot?
 6 BY MR. STORY:                                                6     A No, like, the bottom of the hill of Memorial
 7    Q All right. Ms. A.G., we're back on the                  7 Drive where the hotel is.
 8 record so we've gone through the time that -- I'm just       8     Q Okay. I'm going to hand you what I've
 9 going to say that you were in Atlanta. And you got           9 marked as Defendant's Exhibit 14.
10 there on the 22nd of June 2017, left the morning of         10            (Defendant's Exhibit 14 was marked for
11 June 26th, that following Monday.                           11            identification.)
12        And based on what we've talked about, my             12        And these are Plaintiff's Responses to
13 understanding is you were at a hotel on Fulton              13 Defendant's Request for Admissions to Plaintiff. And
14 Industrial the night of June 22nd and then you were at      14 I've just got a few questions that -- and I think I'm
15 the United Inn on June 23rd, 24th, and 25th and             15 going to be able to get through this pretty quickly.
16 checked out the 26th. Generally speaking, how did you       16 But before we go into this, I do want to ask you about
17 go about engaging with speaking to potential customers      17 one other thing.
18 during that time period?                                    18        So you understand that Zaccheus Obie, who
19    A We would just ask them what they were                  19 we're referring to as P.D., that he pled guilty to
20 looking for. That's all we would ask them. And then         20 minor sex traffic charges and is currently serving a
21 they would tell us and then we would give them a            21 prison term for that?
22 price.                                                      22     A Yes.
23    Q During that time, were you or G.W. being               23     Q And is it fair to say that you were supposed
24 contacted by any people who were finding your               24 to speak at P.D.'s criminal sentencing?
25 information on online advertisements?                       25     A Yes.
                                                    Page 119                                                       Page 121
 1     A No.                                                    1            MR. BOUCHARD: Object to form.
 2     Q So when you were at the United Inn, do you             2 BY MR. STORY:
 3 know if P.D. had his own clientele that he would send        3     Q Why did you not speak at his sentencing?
 4 to you?                                                      4     A I got really sick right before I -- we were
 5     A Not that I'm aware of.                                 5 supposed to go down there. And I couldn't go anymore.
 6     Q Okay. So ultimately, you would -- if you               6     Q Did you get the opportunity to write a
 7 were at the United Inn, you would get customers from         7 letter to the court?
 8 walking Memorial Drive is one way; is that correct?          8     A They said that I could write a letter, but I
 9     A Yes.                                                   9 was so sick, I couldn't even get out of bed more or
10     Q And you would also get them at the gas                10 less write something down to be spoken in court.
11 station nearby; is that correct?                            11     Q Okay. So the reason that you didn't write a
12     A Yes.                                                  12 letter is because you were sick?
13     Q And then you would also get customers in the          13     A Yes. I do wish that I could have spoken
14 parking lot of United Inn; is that correct?                 14 and -- or even wrote a letter for them to read.
15     A Yes.                                                  15     Q What would you have said?
16     Q Is there anywhere else that you can remember          16     A Just that, you know, what happened to us, I
17 while at United Inn that you would locate customers         17 wouldn't have wished this on anyone else. And I'm
18 and speak with them?                                        18 glad that, you know, we had people who was looking out
19     A Well, I know we would just be standing like,          19 for us and got him, P Diddy, like, found out. Like
20 around the hotel. So, like, in front of it on the           20 G.W.'s mom, for example, I'm glad that, you know, we
21 sidewalk in front of it instead of walking, 'cause          21 had her looking out for us and for her daughter
22 there's like a red light. And so we would stand right       22 that -- to help her and -- so that way he could get
23 there where the red light is. Right in front of there       23 what he deserved for us having to deal with this for
24 occasionally, but after, you know, the first day of         24 the rest of our life. Because, you know, we didn't
25 walking up and down Memorial Drive and being so tired       25 have nobody while we were down there looking out for

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 1 us. And maybe if we would have, then this would have          1 for the sake of efficiency, I'm not going to go
 2 ended a lot sooner and we wouldn't have all of this to        2 through every one of these. But on page 11, the
 3 carry on with us throughout our life.                         3 requests are to admit that you were never physically
 4        And, you know, I may have to live with, you            4 present at the United Inn & Suites, and it goes from
 5 know, this -- what word? Like, loss of self-respect           5 June 27th to July 1st. We talked about earlier you'd
 6 for myself from this. Like, maybe I wouldn't have to.         6 gotten taken back to Commerce on June 26th?
 7 But I'm glad that it did -- eventually somebody stood         7    A Yes.
 8 up for us. That's just what I would have said because         8    Q So is it accurate to say that from June 27,
 9 I'm glad that he ended up where he's at and not               9 2017, to July 1, 2017, you were never physically
10 continuing what he was doing with other young girls or       10 present at the United Inn & Suites?
11 who knows who else.                                          11    A Yes.
12    Q Do you remember whether it was you or G.W.              12    Q And is it also accurate to say that from
13 who first reached out to -- I keep on forgetting             13 July 2, 2017, to July 23, 2017, all days in between,
14 Quintavious is Swayzii?                                      14 you were never physically present at the United Inn &
15    A Swayzii.                                                15 Suites?
16    Q Swayzii.                                                16    A Yes.
17    A I'm pretty sure that it was G.W., I'm                   17    Q If you can go to page 12. Number 31 says
18 not -- I'm not for sure. I don't know if it was me or        18 admit that you never saw an employee of the United Inn
19 G.W. first.                                                  19 & Suites have a conversation with Kikia Anderson. The
20    Q Do you know, putting you and G.W. in the                20 response is denied. So I take that to mean that you
21 same group and then Swayzii and P.D. in a different          21 did see an employee of United Inn & Suites talking
22 group, who contacted who first, do you know?                 22 with Kikia Anderson. Based on what I've heard
23    A We contacted Swayzii first.                             23 today -- let me just ask you. Did you ever see an
24    Q Okay. Can you turn to page 8 of Exhibit 14?             24 employee of the United Inn & Suites having a
25 And, Ms. A.G., I just want to explain what this is.          25 conversation with Kikia Anderson?
                                                     Page 123                                                       Page 125
 1 You might have never seen this. What these are called         1     A No.
 2 are requests for admission. And in just plain                 2     Q And Kikia Anderson and Kiki Anderson are the
 3 English, how it works is, I send to your attorney a           3 same person; correct?
 4 request that says, admit this fact. Your attorney             4     A I'm not sure.
 5 speaks with you, but your attorney responds. So these         5     Q Okay. Did you ever see Doc have a
 6 responses are what your attorney drafted on your              6 conversation with an employee at the United Inn &
 7 behalf. And I think after we've -- I've heard your            7 Suites?
 8 testimony today I just want to clarify and make sure          8     A Not that I seen.
 9 that I'm right on a few things. So when you're                9     Q Did you ever see P.D. have a conversation
10 looking at this, I just want you to understand, I'm          10 with any employees or staff at the United Inn?
11 not saying that you are the one who actually drafted         11     A Not that I'd seen.
12 this response. But I want to ask you first about             12     Q Did you ever -- strike that.
13 number 16.                                                   13        Did you ever yourself speak in person with
14     A Okay.                                                  14 an employee or staff member of the United Inn in June
15     Q And it says admit that you were never                  15 of 2017?
16 physically present at the United Inn & Suites on             16     A Yes.
17 June 22, 2017. The response the denied. Ms. A.G., so         17     Q Tell me about that.
18 June 22nd was that Thursday that y'all are on Fulton         18     A Well, we had gotten locked out of the room
19 Industrial. Now that we've talked about it today and         19 at one point. And had to go up to the desk to be let
20 gone through the dates and gone through the text             20 back into the room, because we had left our keys in
21 messages, is it accurate to say that on June 22, 2017,       21 the room. And whenever we did that, they had to make
22 you were never physically present at the United Inn &        22 a phone call because our names was not on the room for
23 Suites?                                                      23 us to be let back in. And then they walked us back
24     A Yes.                                                   24 down to the room and let us into the room.
25     Q All right. Can you turn to page 11? And                25        We had also went up to the desk one night to

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 1 go and purchase condoms. And then we had also talked        1 So did the Indian man talks to -- and I'm just going
 2 to a housekeeper about getting towels one day.              2 to call him the Indian man, so you and I are on the
 3 Because P Diddy did not want us to have housekeeping        3 same page. He talks to P.D., and then does he just
 4 coming into the room.                                       4 give y'all a key?
 5     Q Do you know why P.D. didn't want y'all to             5     A He walks us down to the room and lets us in.
 6 have housekeepers come into the room?                       6 Because we had just left our keys in the room. So
 7     A He didn't really say why.                             7 there was no reason to give us another key, we just
 8     Q So the time that you had to go back in the            8 needed to be let back in so we could get our key.
 9 lobby to get a key, did you go back in, what did you        9     Q Okay. So he almost like -- he went and used
10 say to the employee?                                       10 like a master key to let y'all back in?
11     A That we had locked ourself out of the room           11     A Yes.
12 and that our name was not on the reservation. Could        12     Q Understood. Did y'all have any other
13 they still let us in? And they were like, well, we're      13 conversation with this Indian man outside of we left
14 going to have to talk to who's on the reservation.         14 the key in our room, and it's not registered in our
15     Q And do you remember -- do you know the name          15 name?
16 of the employee that you were communicating with?          16     A No.
17     A No.                                                  17     Q Tell me about buying condoms. Do you
18     Q Can you describe them physically?                    18 remember who you bought the condoms from?
19     A I am not sure if it was -- I'm not sure if           19     A I'm not exactly sure who was up there that
20 there was one or two people up there at the time. But      20 night that we bought them from.
21 I know -- I remember seeing a guy up there, but I          21     Q Do you remember anybody in the lobby other
22 think there was also a girl. Because when we'd said        22 than the Indian man and woman that you've described?
23 that we weren't on the room -- like, our names wasn't      23     A No.
24 on there, I'm pretty sure he had to go ask what to do      24     Q How did you pay for the condoms?
25 to be able to let us back in. And it was -- Indian         25     A With cash.
                                                   Page 127                                                      Page 129
 1 man. He was an Indian man, kind of older. Probably 1        Q Did P.D. not provide y'all with condoms?
 2 in his like, 40s.                                      2    A No.
 3     Q And he was the one who y'all talked to about 3        Q And was the housekeeper that you interacted
 4 getting the key?                                       4 with about getting towels, was that a female?
 5     A Yes.                                             5    A Yes.
 6     Q And based on your recollection, you believe      6    Q Okay. And what race was she if you know?
 7 he wasn't really sure what to do so he had to go ask   7    A Possibly Indian too.
 8 somebody else?                                         8    Q Did she get you towels?
 9     A Yes.                                             9    A Yes.
10     Q And did y'all have to get P.D. to call the      10    Q Did you have any other conversations with
11 front desk to say they're authorized to have a key?   11 her besides, can we get towels?
12     A I'm not sure if we told him to call up there    12    A No.
13 or if they like, looked up the number and called him. 13    Q And I know you don't remember who exactly
14 I'm not really sure how that phone call went. I just  14 you interacted with when you bought condoms, but did
15 know for sure there was a phone call.                 15 you have any other conversation other than I want
16     Q Understood. The girl that he went and           16 those condoms and the transaction?
17 asked, did you see her?                               17    A No.
18     A I saw her walk out but just for a second for    18    Q I don't have any other questions on that.
19 them to talk and then go back in.                     19 Now I'm going to hand you what I'm marking as
20     Q What did she look like?                         20 Defendant's Exhibit 15, which is Plaintiff's Responses
21     A Dark hair, she was Indian as well. She          21 to Defendant's Interrogatories.
22 probably looked about in her 40s. I'm not really good 22          (Defendant's Exhibit 15 was marked for
23 with age, but --                                      23          identification.)
24     Q That's okay. I'm just asking for your best      24       And, Ms. A.G., just for your benefit,
25 recollection. I appreciate you cooperating with me. 25 interrogatories are tools that lawyers have to get

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 1 information from the opposing party. Again, I know 1 that that happened besides the one time. And like I
 2 that you did not write these responses out.             2 said, he -- I cried and told him to get off me and so
 3        But what we do as attorneys is we get            3 he slapped me and continued until he was finished.
 4 information from our client and then we draft the       4    Q Was P.D. ever violent to you?
 5 responses. So I'm going to be asking you about these 5       A He got pretty aggressive with me and got in
 6 responses, but just know I understand that you didn't 6 my face because he was mad that I didn't want to wear
 7 sit there and type it up. I'm just trying to get        7 heels while walking around and told me that nobody
 8 clarification, make sure I know everything you know. 8 would want to talk to me looking like that. So he did
 9     A Okay.                                             9 scream at me.
10     Q All right. So the first interrogatory asks       10    Q And when would that have been?
11 for -- we just asked you generally to identify the     11    A I know we were at the United Inn when this
12 dates you were trafficked and basically the            12 happened, when he was screaming at me, but I think
13 information you had surrounding those dates. If you 13 that it was Saturday, but I'm not for sure.
14 turn to page 3, I'm not going to read the full         14    Q When you were at the United Inn, did P.D.
15 response, I'm just going to direct you to where I have 15 come back every morning to pick up the money?
16 questions. And I should have said this before, but if 16     A Yes. And then he would disappear for a
17 there's a time where you're like, I don't really know 17 little while and then come back into the room and talk
18 what he's talking about, I want to read the whole      18 to us and then leave.
19 thing, just tell me.                                   19    Q And y'all were in room 112 the whole weekend
20     A Okay.                                            20 though?
21     Q And you got every right to -- and I'll sit       21    A Yes.
22 back until you finish reading the full response. So    22    Q Moving down in that paragraph, it says,
23 if you get confused just let me know. So -- you on     23 "Zaccheus Obie, or his associates came to the room and
24 page 3?                                                24 collected the money that Plaintiff G.W. and Plaintiff
25     A Yes.                                             25 A.G. received from sex buyers." I'm going to ask you
                                                    Page 131                                                   Page 133
 1     Q This first full paragraph that starts with,            1 who -- tell me everybody that you can think of who you
 2 "When plaintiff" -- do you see this?                         2 consider an associate of Zaccheus Obie or P.D..
 3     A Okay.                                                  3    A The person who -- the woman who drove us
 4     Q So the second sentence of that paragraph               4 down there, who picked us up from Commerce and dropped
 5 says, "To the best of plaintiff's current                    5 us off.
 6 recollection, she was victimized in one of the               6    Q Kiki; right?
 7 following rooms, or a room nearby, 117, 118, 119,            7    A I'm not for sure if that was her name.
 8 120." End of sentence. Based on what we've discussed         8    Q Okay. And you're talking about the one who
 9 today, I believe the only room that you were in at the       9 picked you from Commerce to take you to Atlanta?
10 United Inn was room 112; is that accurate?                  10    A Yes.
11     A Yes.                                                  11    Q Okay. Okay. Who else?
12     Q The next sentence says, "Plaintiff had sex            12    A And the other guy who we picked up when we
13 for money with at least 15 men over the period she was      13 were going to the United Inn. I think his name was
14 at the United Inn & Suites." I'm not asking you to          14 Doc.
15 give me an exact number, it was a long time ago. And        15    Q Anyone else?
16 we've gone over -- I know it's a group of four or five      16    A As far as I know, that's all I know about.
17 men twice and then three the first night. So now that       17 I'm not sure if he knew anybody from the hotel or
18 we've kind of relived that weekend, you still believe       18 anywhere else around us. Like, if he had other people
19 15 is an accurate number?                                   19 staying in the hotel that he knew, because, like I
20     A Approximately, yes.                                   20 said, when he would come in the mornings, he would
21     Q Other than the gentleman who talked about             21 come in there first and then he would go and disappear
22 who slapped you in the face and held you down, did          22 for about, like, 20 minutes to 30 minutes and then
23 anyone else physically force themselves upon you?           23 come back. But he would still be like on the hotel
24     A No, not like, me telling them no and then             24 premises.
25 them still doing it anyways. No, I had no other time        25    Q How would you know that he was in the hotel

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 1 premises?                                                     1 sex trafficked. The five adult men had sex with both
 2     A Because he was still parked outside. His                2 minor victims simultaneously. After the five adult
 3 car was still parked in front of our room.                    3 men left plaintiff's room, the men stood in the open-
 4     Q Who took you back to Commerce on Monday?                4 air hallway banging on the door and demanding the
 5     A The same lady that had picked us up.                    5 minors allow them back into the room." End of
 6     Q So do you know Kiki Anderson?                           6 sentence.
 7     A I'm not -- I'm -- I think that it was the               7         Fair to say that this is describing the
 8 driver, but I'm not for sure. That's just from the            8 Hispanic --
 9 knowledge that I have now. But at the time, I did not         9     A Yes, and the other one.
10 know that was her name or -- and I'm still not               10     Q Got you. Do you know what -- who's name
11 completely sure that's her name. I just know it was a        11 room 112 was rented for in United Inn that weekend?
12 heavy-set African American lady and it's it. That's          12     A I don't know his real name. I just know
13 all I know.                                                  13 that it was Doc who rented out the room.
14     Q Okay. Staying on page 3, after the at least            14     Q Okay. And did you ever -- one of these days
15 15 adult men, the next sentence is "Once at the United       15 I'm going to remember. Was it Swayzii?
16 Inn & Suites, five adult men purchased sex with              16     A Swayzii.
17 plaintiff and the other minor with whom plaintiff was        17     Q Did you ever see Swayzii after that initial
18 sex trafficked. The five adult men had sex with both         18 meeting?
19 minor simultaneously. A fight ensued which spilled           19     A No.
20 out into the United Inn & Suites open air hallway and        20     Q The last sentence starts on page 4 and goes
21 caused significant commotion." And going to the next         21 to page 5. It says, "Some of plaintiff's traffickers
22 page, "Plaintiff threatened to pepper spray the men,"        22 were physically violent towards plaintiff and/or women
23 and I'm going to stop there, because I don't want to         23 in front of plaintiff." End of sentence. You told
24 get to the next event. Was it you or G.W. who                24 me, Ms. A.G., about the time that P.D. was I think
25 threatened to pepper spray?                                  25 you -- the words you used were physically -- or
                                                     Page 135                                                       Page 137
 1    A G.W.                                                     1 aggressive with you about the heels. In that time,
 2    Q Okay. Was that the -- I'm just going to                  2 did he put his hands on you?
 3 keep real general of how we're referring to these             3     A He did not put his hands on me. He just got
 4 people. Was that the group of the Mexican men?                4 in my face, like really close to my face and was
 5    A Well, she threatened pepper spray both of                5 screaming.
 6 them and there was a argument with both of them. So           6     Q Did you see him put his hands on any other
 7 I'm not sure which one is which 'cause they both kind         7 women?
 8 of had the same incidents of what happened. But               8     A No.
 9 the -- the Hispanic men, they were kind of more               9     Q Were there any other instances where you
10 outside beating on the door. The African men, we             10 felt intimidated or physically threatened by him?
11 were, like, yelling back and forth with the door open.       11     A The whole time -- it was just the fact that
12    Q Which group was the shoes? That forgot                  12 I know that he had a gun on him and, you know, we're
13 their shoes inside?                                          13 out here by ourselves with no weapons, nobody out
14    A The Hispanic men.                                       14 there, no money, no car. So it was kind of more a
15    Q If you had to say which one was a louder                15 fear that we were in his hands, and we had to do what
16 commotion, would it have been the Hispanic men or the        16 he said.
17 other group of men if you know?                              17     Q How do you know he had a gun?
18    A I would say it would be kind of equal. Just             18     A We saw it.
19 different commotion.                                         19     Q When did you see the gun?
20    Q Right. All right. Going to page 4, are you              20     A When we were in his car, when we came from
21 on page 4?                                                   21 the first hotel to United Inn, and then he kept it on
22    A Yes.                                                    22 him.
23    Q The next sentence says "Another time at the             23     Q Did you ever see anyone at United Inn &
24 United Inn & Suites, five adult men purchased sex with       24 Suites with a gun?
25 plaintiff and the other minor with whom plaintiff was        25     A Besides him?

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 1     Q Yes, ma'am.                                           1 back there and then walked back up to the front with
 2     A Doc also had a gun, but besides them two,             2 him. And then there was another time that we were
 3 no.                                                         3 just walking around the whole entire parking lot.
 4     Q And, Ms. A.G., before I ask you this                  4 There might have been more than that, but those are
 5 question, I just want to reiterate that there's been a      5 the two times that I know for sure that we were in the
 6 protective order entered in this case. So this              6 back parking lot.
 7 transcript is not public record. It's going to be           7     Q The times that I've been out to United Inn
 8 under seal. So I don't want you to be fearful of            8 were much later than when all of this was going on.
 9 giving me a truthful answer. And if you are fearful         9 And it was -- the back parking lot was like -- beyond
10 just tell me and we can deal with that later.              10 it was sort of heavily under construction. Do you
11        But this next sentence on page 5 says,              11 remember what was behind the back parking lot back in
12 "Plaintiff's suspects her traffickers were affiliated      12 2017? Was it just woods?
13 with criminal gangs." Can you tell me what                 13     A I think it was just woods.
14 information or knowledge or evidence you have that         14     Q And then did you also -- would you also
15 would suggest that your traffickers were affiliated        15 spend time from June 23rd to June 26th of 2017 in the
16 with criminal gangs?                                       16 front parking lot of the United Inn?
17     A It was the way that he came off. And he              17     A Yes.
18 talked about that it was a business and he would talk      18     Q And tell me about that.
19 about how he had other people involved and the fact        19     A Well, we would spend time, like -- we would
20 that he carried around guns, and you know, was             20 have, you know, these men driving up into the parking
21 watching us all the time. It felt like there was no        21 lot, having conversations. And us, you know, leaning
22 way that he could be doing this all by himself.            22 into their car with little clothing on talking to
23     Q And by he, you mean P.D.?                            23 them, hanging out having conversation. And we would
24     A Yes.                                                 24 also just stand around waiting for people to see us in
25     Q Do you remember ever a time and -- I mean,           25 the parking lot.
                                                   Page 139                                                       Page 141
 1 the classic example that I use Crips or Bloods, you         1        And then, like, on the sidewalk in front of
 2 know, do you ever remember hearing any kind of gang         2 the parking lot. But most of the time we were in the
 3 affiliation statement made either by P.D. or any of         3 parking lot because we weren't really trying to walk
 4 his associates?                                             4 around as much. We were just trying to stay put and
 5     A No, but when him and Doc would talk, you              5 let people come to us.
 6 could tell that they had their own way of speaking to       6     Q Were there ever times that you can recall
 7 each other. Like, secret words and stuff like that.         7 specifically that you were hanging out in the
 8 I don't remember exactly, but at the time I could tell      8 stairwells of the United Inn?
 9 that they were talking so that we couldn't understand       9     A Yeah, there -- that's actually on the right
10 what they were saying.                                     10 side. So if you're looking at it from the street, on
11     Q Okay. The next paragraph on page 5, the              11 the right side there's a stairwell I think that we
12 first sentence says "During the period at issue,           12 were hanging out in, like, sitting over there, just
13 plaintiff was regularly in common areas of the United      13 talking. Sitting on the stairs. And then also in the
14 Inn & Suites. Examples include parking lots,               14 middle where the front desk is, we were hanging out
15 stairwells, breezeways, hallways, lobby, vending           15 over there a little bit. 'Cause over there is where
16 machine area, and sidewalks."                              16 the vending machines were. I couldn't remember if
17         So between from June 23rd to June 26th of          17 there are stairs over there or not.
18 2017, were you ever in the back parking lot at United      18     Q And I know we were talking about where those
19 Inn?                                                       19 vending machines are. And the next word is
20     A Yes.                                                 20 breezeways. And I know where the vending machines
21     Q And tell me about the times that you were in         21 are, like, if you're facing the hotel, they're to the
22 the back parking lot.                                      22 right of the lobby, correct?
23     A We only probably went back there, like,              23     A Yes.
24 twice. There was the one time when the guy -- the          24     Q Are there any other breezeways though other
25 construction guy had parked back there. And we walked      25 than that one right there?

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 1     A No, like, a breezeway is like to walk                 1 it says, "Plaintiff talked with United Inn & Suites
 2 through from front to back?                                 2 staff about various issues including but not limited
 3     Q Yes, ma'am.                                           3 to purchasing condoms, being locked out of the room in
 4     A No.                                                   4 which she was trafficked and needing to be let back
 5     Q And what would y'all do in the breezeways?            5 in, and housekeeping services." End of sentence.
 6     A Well, when we would go over there to get              6 We've talked about all of those today; correct?
 7 snacks. And then when we were standing over there           7     A Yes.
 8 waiting to get the -- to talk to them about getting         8     Q Then the next sentence says, "During many of
 9 locked out of the room and when we went over there to       9 plaintiff's conversations with hotel staff, Plaintiff
10 buy condoms. Like, I know we were over there for a         10 G.W. was with plaintiff."
11 while kind of standing, talking.                           11     A Yes.
12     Q Okay. And for the sidewalks, just so I'm             12     Q So when I read that, my -- the question I
13 clear, you're talking about the sidewalk that's in         13 have is was there a conversation you had with an
14 front of the front parking lot at United Inn that          14 employee or staff member of the United Inn when G.W.
15 borders Memorial Drive?                                    15 was not present?
16     A Yes, that one and then also the like                 16     A No.
17 sidewalk in front of the rooms. Kind of like sitting       17     Q Okay. It goes on to say with respect to
18 there on the sidewalk that like leads to the parking       18 your interactions with front desk staff specifically,
19 lot.                                                       19 "Plaintiff recalls interacting with at least an Indian
20     Q Understood. And for that sidewalk, if you            20 man." Do you agree with me, Ms. A.G., you've done
21 continued to walk away from the United Inn, would you      21 your best to describe what that Indian man looked
22 walk from the sidewalk you're talking about into the       22 like?
23 front the parking lot?                                     23     A Yes.
24     A Yes.                                                 24     Q If you can go to page 9. And this is just
25     Q Okay. The next sentence says, "During those          25 in response to we're asking you to identify the United
                                                   Page 143                                                       Page 145
 1 periods plaintiff was frequently around and observed        1 Inn & Suites employee that had a conversation with any
 2 by hotel employees working at the hotel."                   2 of traffickers. And on page 9, it says in the third
 3        Ms. A.G., other than the -- so we've talked          3 line down "After arriving at the hotel, Doc went into
 4 about the interactions that you can recall, is there        4 the hotel lobby to reserve a room for Plaintiff G.W.
 5 anybody else you can remember that you were observed        5 and Plaintiff A.G. It is believed it had that doc
 6 by that you thought was an employee or staff member of      6 reserved one of the following rooms or a room nearby:
 7 the United Inn?                                             7 117, 118, 119, 120. Plaintiff does not recall the
 8     A We saw like other cleaning people that was            8 name of the front desk clerk with whom he interacted.
 9 walking around and stuff. But we never interacted           9 She believes she interacted with at least an Indian
10 with them, like, talked to them besides one lady.          10 man working at the front desk." My question is, you
11     Q And that was to get towels?                          11 don't know who Doc interacted with in that lobby;
12     A Yes.                                                 12 correct?
13     Q Did y'all -- did the maids ever come and             13     A Correct.
14 clean that room?                                           14     Q Going to that next paragraph, I'll just read
15     A No.                                                  15 it for the record to keep it clean. "In the days
16     Q And is that on instruction of P.D.?                  16 after Doc reserved the room described in the forgoing
17     A Yes.                                                 17 paragraph, Plaintiff G.W. and Plaintiff A.G. were
18     Q All right. Ms. A.G., if you can go to                18 locked out of their room. They had misplaced the room
19 page 6 real quick. And you just want to show you what      19 key that Zaccheus Obie and Doc gave them. Plaintiff
20 this response is to. We're not going to really look        20 G.W. and Plaintiff A.G. went to the front desk to ask
21 at this page, but basically, we asked to provide a         21 for help. They reported that they were locked out of
22 narrative and factual basis for the allegation that        22 a hotel room rented to someone else. Plaintiff G.W.'s
23 United Inn had ample opportunity to observe the age        23 and Plaintiff A.G.'s respective names were not on the
24 and appearance of you and G.W. and I want to go to         24 reservation. They were minors at the time. The front
25 page 7. That first full paragraph, it -- the middle        25 desk clerk did not ask for any further information

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 1 from them. Examples given ID, age, reason for being           1 out the damages that you believe you've suffered as a
 2 at the hotel, whereabouts of person whose name was on         2 result of this incident in June of 2017; okay?
 3 the room reservation, their relationship to person            3    A Okay.
 4 whose on name was on the room reservation or anything         4    Q And some of these, I'll be honest with you,
 5 else. Instead, the front desk clerk picked up the             5 they're legal terms so I'm not going to ask you about
 6 phone and called Doc or Zaccheus Obie. After doing            6 every specific one. But I do have a few questions.
 7 so, the front desk clerk walked Plaintiff G.W. and            7 Did you ever seek medical treatment as a result of the
 8 Plaintiff A.G. to the room in which they were being           8 events from June 23rd to 26th of 2017?
 9 sex trafficked at the United Inn & Suites. Plaintiff          9    A I did do counseling.
10 does not recall the name of the front desk clerk with        10    Q Where did you do counseling?
11 whom she interacted. She believes she interacted with        11    A I did it through Pat, it was called ML
12 at least an Indian man working at the front desk."           12 health.
13        I know that ended on page 10, but going back          13            THE REPORTER: I'm sorry, did you say
14 to page 9, you don't remember whether or not the front       14 Pat?
15 desk clerk called P.D. or Doc? Or on the other hand          15            THE WITNESS: Pat.
16 if P.D. or Doc called the front desk; is that                16            THE REPORTER: Okay. Thank you.
17 accurate?                                                    17 BY MR. STORY:
18     A Right.                                                 18    Q And what does Pat stand for?
19     Q And is it fair to say that the front desk              19    A Pat was one of my attorneys.
20 clerk did not give you a key when you walked in and          20    Q Oh, is it McDonough? It's okay. Strike
21 said, we're not on the reservation, we left our key in       21 that.
22 the room?                                                    22    A I'm not sure.
23     A Yes.                                                   23    Q And just to let you know, you can tell me
24     Q And ultimately, he said we have to get                 24 who -- but I don't need to know the contents of
25 confirmation from the person whose name is on the            25 anything you spoke with -- spoke about with your
                                                     Page 147                                                     Page 149
 1 room; correct?                                                1 attorneys.
 2     A Yes.                                                    2     A Okay.
 3     Q I've asked you a few times about specific               3     Q So where's ML health?
 4 nights, but I just want to ask you generally, while           4     A I did it online.
 5 you were at the United Inn & Suites from June 23rd to         5     Q And tell me about that program?
 6 when you left the morning of June 26th, do you have a         6     A I spoke to her once a week. And I probably
 7 specific recollection of any outfits that you wore?           7 did that for a month, maybe two months.
 8     A I know the whole time we were wearing very              8     Q Do you think it was helpful?
 9 scandalous outfits, but I don't remember exactly which        9     A It was. I would have liked to continue with
10 outfits, what days. It was definitely things we did          10 doing -- having that help.
11 not need to be wearing.                                      11     Q Why did you stop?
12     Q I think you had said earlier, all the                  12     A Because after so many sessions, you had to
13 clothes that you were wearing were your clothes; is          13 start paying for it and I didn't have the money to pay
14 that correct?                                                14 for it anymore -- or at all. 'Cause it was covered I
15     A Yes, or clothes that I got from friends back           15 guess by my lawyers or like, something. And then
16 at home or from my cousin.                                   16 after that, you -- after so many sessions, you had to
17     Q So you -- did you go shopping before y'all             17 pay. And I didn't have the money to pay for that, so
18 went down to Atlanta to get clothes to do this?              18 I didn't do it anymore.
19     A No.                                                    19     Q Do you have insurance through FedEx?
20     Q Is it fair to say that the outfits you were            20     A No.
21 wearing the weekend of June 23rd to 26th of 2017 you         21     Q So as you sit here today, do you not have
22 had worn before?                                             22 health insurance?
23     A Yes.                                                   23     A I have -- I have Medicaid -- whichever one.
24     Q I want to go to page 16, and this is a                 24 I'm not sure which one it is. I do have that through
25 response to -- we asked for you to itemize, to list          25 my son.

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 1 prostitution.                                                1        At what point, Ms. A.G., did you understand
 2     Q Did you just think he had girls that would             2 what the phrase make plays meant?
 3 strip?                                                       3     A I think after we had been walking around for
 4     A Yes.                                                   4 a while and we had a couple cars stop and they were
 5     Q You can turn to the next page. I'm going to            5 saying, you know, that they wanted sex for money, and
 6 ask you about -- and I'm going to read it out loud,          6 we said that that was not what we were looking to do.
 7 but I want to make sure that you can read it with me.        7 And we told P Diddy that and he was like, well, that's
 8 It's a car came do pick up G.; do you see that               8 what I need y'all to do to be able to make some money.
 9 paragraph?                                                   9     Q And so that was that first night on
10     A Yes.                                                  10 June 22nd?
11     Q Okay. I'm going to read it out loud for the           11     A Yes.
12 record and ask you a few questions.                         12     Q And you ultimately figured that out from
13         "A car came to pick up G. and W. at G.'s            13 talking to P.D. about the offers that you were
14 house and was driven by a black female. Swayzii had         14 receiving?
15 told G. and W. that he would find other things they         15     A Yes.
16 could do for money before they turned 18. So they           16     Q I'm not going to read this whole paragraph,
17 asked the female driver what the other things were          17 but see the bottom at 9325 it says, "the male took G.
18 that they would be doing. The woman told them they          18 and W. to a gas station to get money and then the
19 would be having sex for money if they wanted to. She        19 three of them returned to G. and W.'s hotel room at
20 told them that she used to do the same thing for            20 the Red Roof Inn near Industrial Boulevard." See that
21 money. When G. and W. got into the car with the             21 sentence?
22 woman, they had to give her the $100 that Swayzii had       22     A Where?
23 initially asked for in their first meeting." End of         23     Q It's the very bottom of 9325, starts with
24 paragraph.                                                  24 the male took?
25         So, Ms. A.G. is it fair to say that the             25     A The male -- I see the male indicated.
                                                    Page 179                                                       Page 181
 1 black female that gave you a ride to Atlanta on              1    Q Are you on 9325?
 2 June 22, 2017, told you that you'd be having sex for         2    A Yes. Oh, okay. Okay. I see.
 3 money?                                                       3    Q Seeing that sentence and understanding that
 4     A No.                                                    4 we're going over a summary of the forensic interview
 5     Q Did she mention that it was an option?                 5 of you from August 4, 2017, would it be accurate to
 6     A She talked about that she used to do it and            6 say that on the night of June 22, 2017, the hotel that
 7 that some of the girls would do it. But she never            7 you and G.W. were staying at was the Red Roof Inn near
 8 said that is what we would be doing.                         8 Industrial Boulevard?
 9     Q Okay.                                                  9    A I'm not sure if it was the Red Roof.
10     A Because we had told her, we came down here            10    Q Okay. Did you ever have unprotected sex
11 on assumptions that we were just going to be dancing        11 during June of 2017?
12 and she was saying that -- if that's what we assumed        12    A No.
13 then that is what it probably was.                          13    Q Did you during June of 2017 go by a nickname
14     Q I'm going to read the next paragraph out              14 of Cloud?
15 loud and ask you a few questions.                           15    A I think that was a name that like, I came up
16         "The female driver drove G. and W. to a             16 for myself. But then P Diddy came up with Light
17 hotel in a rough looking area near a lot of truckers.       17 Bright and that's what I ended up going by.
18 When they got to the hotel, they called Swayzii's           18    Q Got you. If I say there's a girl named
19 brother again and he told them to walk the street and       19 Shay, do you know who Shay is?
20 'make plays'. To make plays was to have sex for             20    A No.
21 money. He didn't tell them how much money to charge         21    Q Did the school resource officer at Commerce
22 at first, but later set a $500 per night quota on each      22 high school ever touch you inappropriately?
23 of the girls. They did not reach $500, he told them         23    A No.
24 he was disappointed in them, but he did not get too         24    Q Never?
25 mad." End of paragraph.                                     25    A No. There were other issues with him. Of

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 1     Q And do you believe as a result of what                1     A Yes.
 2 happened to you from June 22nd until June 26th of 2017      2     Q You described two groups of men who came to
 3 that you suffered injuries?                                 3 the United Inn & Suites on the night of Saturday,
 4     A Yes.                                                  4 June 24, 2017, and into the early morning hours of
 5     Q And you believe in part that United Inn is            5 Sunday, June 25, 2017. Do you recall that?
 6 as to blame for those injuries; is that fair?               6     A Yes.
 7     A Yes.                                                  7     Q Was one of those groups a group of Hispanic
 8     Q Do you believe P.D. has any responsibility            8 men?
 9 to blame for your injuries?                                 9     A Yes.
10     A Yes.                                                 10     Q Was one of those groups a group of black
11     Q More or less than United Inn?                        11 men?
12     A Equal.                                               12     A Yes.
13     Q Do you believe that Doc -- that there's any          13     Q Did you describe the black men as being
14 blame or fault towards Doc for the injuries you            14 Haitian or African looking? Or would you just
15 suffered?                                                  15 describe them as a group of black men?
16     A Yes.                                                 16     A Like, Haitian men.
17     Q More or less than the United Inn?                    17     Q What was your understanding of why these
18     A Equal.                                               18 groups of men were coming to the United Inn & Suites
19     Q What about the girl who drove you? Do you            19 to meet with you and Ms. G.W.?
20 believe that she's to blame at all for any of this?        20     A To have sex for money.
21     A Yes.                                                 21     Q And did you understand that they were coming
22     Q More or less than United Inn?                        22 to the United Inn & Suites to have sex only with you
23     A Equal.                                               23 A.G. or also with Plaintiff G.W.?
24     Q And then I'm going to ask you that same              24     A With both.
25 question about the -- and I know that we don't know        25     Q Did these groups of men pay money to you and
                                                   Page 199                                                      Page 201
 1 the exact hotel on Fulton Industrial but to the extent      1 G.W. for sex?
 2 that they're to blame for your injuries, do you think       2     A Yes.
 3 their fault is more or less than United Inn?                3     Q Did you personally have sex with the group
 4     A Equal.                                                4 of Hispanic men?
 5     Q From June 22nd to June 26th of 2017, did you          5     A Yes.
 6 ever have any interaction with any form of a police         6     Q At the United Inn & Suites?
 7 officer?                                                    7     A Yes.
 8     A No.                                                   8     Q Where did you have sex with the group of
 9           MR. STORY: Ms. A.G., at this current              9 Hispanic men?
10 time, I do not have any further questions for you.         10     A On the bed.
11 Thank you so much for your time today.                     11     Q In what room?
12           THE WITNESS: You're welcome. Thank               12     A Room 112.
13 you.                                                       13     Q Where was G.W. when you were having sex with
14           THE REPORTER: Sir?                               14 the group of Hispanic men?
15           MR. BOUCHARD: I have a few questions,            15     A At the bottom of the bed.
16 yes.                                                       16     Q During the time that you were having sex
17                 EXAMINATION                                17 with members of this group of Hispanic men, could you
18 BY MR. BOUCHARD:                                           18 see at all times what Plaintiff G.W. was doing?
19     Q Ms. A.G., did you personally observe                 19     A No.
20 Ms. G.W. have sex for money at the United Inn & Suites     20     Q Do you know if the Hispanic men touched G.W.
21 in June 2017?                                              21 in a sexual way in exchange for the money that they
22     A Yes.                                                 22 paid?
23     Q With how many men?                                   23     A No.
24     A I am not sure.                                       24     Q Do you know if Plaintiff G.W. was engaged in
25     Q More than one?                                       25 any sexual acts with these Hispanic men in the

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 1 exchange for the money they paid?                           1    Q Do you know if other members of that group
 2    A I'm not sure.                                          2 of men engaged in any other sexual acts with her, for
 3    Q Do you know how many of the Hispanic men may           3 example, oral sex?
 4 have engaged in sexual acts with G.W. while you were        4    A I'm not sure.
 5 engaged in sex acts with other of the Hispanic men?         5    Q Do you know how many total members of that
 6    A I'm not sure.                                          6 group engaged in any kind of sex act with Plaintiff
 7    Q And you would agree with me that obviously             7 G.W.?
 8 you were not having sex with all the members of the         8    A No.
 9 group of Hispanic men at the same time?                     9    Q What was your understanding of why this
10    A Correct.                                              10 group of black or Haitian men had paid you and G.W.
11    Q In other words, you might be, at any given            11 money?
12 point in time engaged in a sex act with some number of     12    A For sex.
13 the group, but there would be other members of the         13    Q And did you understand that they were paying
14 group who were not involved in a sex act with you          14 you only for sex or both of you?
15 personally?                                                15    A Both of us.
16    A Correct.                                              16    Q Thanks.
17    Q And you don't know what those members were            17          MR. BOUCHARD: Nothing further at this
18 doing at that time with G.W.                               18 time.
19    A Correct.                                              19          THE REPORTER: Any follow-up?
20    Q I want to talk to you about the other group           20          MR. STORY: Just one.
21 of men that -- the black men who I think you've            21               EXAMINATION
22 described as maybe being Haitian; is that right?           22 BY MR. STORY:
23    A Yes.                                                  23    Q What's the difference between a Haitian man
24    Q Where did you have sex with that group of             24 and a black man?
25 men? Was that also at the United Inn & Suites?             25    A They just had an accent, you could tell
                                                   Page 203                                                    Page 205
 1    A Yes.                                                   1 that -- I don't really know the difference, but I just
 2    Q In the same room, 112?                                 2 know that they did not have an American accent.
 3    A Yes.                                                   3     Q Okay. Because I never heard you describe
 4    Q Where was G.W. when you had sex with that              4 them as Haitian until your attorney was asking you if
 5 group of men?                                               5 you described them as Haitian and you said yes. So
 6    A In the bathroom.                                       6 the basis for you saying that is because they just did
 7    Q During the time that you had sex with those            7 not have an American accent?
 8 men, where were you?                                        8     A Yes.
 9    A On the bed.                                            9            MR. STORY: Okay. I don't have any
10    Q Were you ever in bathroom with G.W.?                  10 other questions.
11    A No.                                                   11            THE REPORTER: Any more?
12    Q Okay. So during the time that you were on             12            MR. BOUCHARD: No, sir.
13 the bed having sex with some members of this group of      13            THE REPORTER: This concludes the
14 black men or Haitian men, did you know exactly what        14 testimony. State rules provide the witness shall be
15 Plaintiff G.W. was doing in the bathroom?                  15 afforded the opportunity to review the transcript. If
16    A No.                                                   16 parties wish to waive, please state so. Counsel for
17    Q Do you know if this group of black men                17 the plaintiff, I understand earlier you said you
18 touched Plaintiff G.W. in a sexual way in the              18 wanted to read and sign. Is that still the case?
19 bathroom?                                                  19            MR. BOUCHARD: That's correct.
20    A We had talked about it afterwards and she             20            THE REPORTER: And did you want a
21 did say that -- that she had sex with one of the guys      21 transcript as well?
22 while in there.                                            22            MR. BOUCHARD: Yeah, but just an
23    Q Do you know if other members of the group             23 electronic copy, please. Thank you.
24 touched her sexually?                                      24            THE REPORTER: Okay. Counsel for the
25    A I'm not sure.                                         25 defense, did you want a transcript?

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